Case 1:18-cv-10225-MLW Document 389 Filed 10/07/19 Page 1 of 2

UNITED STATES DISTRICT COURT

DISTRICT OF MASSACHUSETTS

LILIAN PAHOLA CALDERON JIMENEZ )
AND LUIS GORDILLO, ET AL., )
individually and on behalf of all )
others similarly situated, )
)
Petitioner-Plaintiffs, )

)
Vv. ) C.A. No. 18-10225-MLW

)

KEVIN K. MCALEENAN, ET AL., )
)

Respondent-—Defendants. )

)

SEQUESTRATION ORDER

 

WOLF, D.J. October 7, 2019

It is hereby ORDERED, pursuant to Fed. R. Evid. 615, that
each prospective witness at the October 10, 2019 hearing:

1. Shall not discuss this case, including but not limited
to his or her prospective testimony, with any other witness;

2. Shall, except for a designated representative of
Respondents, be excluded from the courtroom when other witnesses
are testifying; and

3. Shall not after testifying tell any prospective witness
what he or she was asked or answered.

This Order shall not operate to prevent counsel from
conferring with a witness prior to his or her testimony. However,

unless protected by the attorney-client privilege or some other
Case 1:18-cv-10225-MLW Document 389 Filed 10/07/19 Page 2 of 2

applicable privilege, such communications may be explored on

direct and/or cross-examination of the witness.

   

UNITED STATES DISTRICT Cou
